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  7
  8                             UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11   THRIVE NATURAL CARE, INC.,                  Case No. 2:20-cv-9091-PA-AS
 12               Plaintiff,                      Hon. Percy Anderson
 13         v.                                    DEFENDANT THRIVE
                                                  CAUSEMETICS, INC.’S
 14   THRIVE CAUSEMETICS, INC.,                   MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT OF
 15               Defendant.                      MOTION FOR CONTEMPT OR, IN
                                                  THE ALTERNATIVE, FOR AN
 16                                               ORDER TO SHOW CAUSE RE:
                                                  CIVIL CONTEMPT
 17
                                                  Date: August 8, 2022
 18                                               Time: 1:30 p.m.
                                                  Place: Courtroom 9A
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       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
      CONTEMPT OR, IN THE ALTERNATIVE, FOR AN ORDER TO SHOW CAUSE RE: CIVIL CONTEMPT
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  1                    MEMORANDUM OF POINTS AND AUTHORITIES
  2          Defendant Thrive Causemetics, Inc. (“TCI”) respectfully submits this
  3   memorandum of points and authorities in support of its motion for contempt or, in the
  4   alternative, for an order to show cause re: civil contempt (“Motion”) pursuant to
  5   Federal Rule of Civil Procedure 70(e) as to Plaintiff Thrive Natural Care, Inc.
  6   (“Plaintiff”).
  7                                      INTRODUCTION
  8          This Court’s January 19, 2022, Judgment requires Plaintiff to consent to TCI’s
  9   registration of the mark THRIVE CAUSEMETICS, upon TCI’s amendment of its
 10   trademark application to exclude skincare products. As required by the Judgment,
 11   TCI timely amended its trademark application to expressly exclude skincare products,
 12   yet Plaintiff has refused to provide its consent to TCI’s registration. Instead, Plaintiff
 13   has conditioned its willingness to provide the required consent on the parties’
 14   execution of a long-form settlement agreement. However, the Judgment does not
 15   require the parties to agree to or execute a long-form agreement, and no other
 16   conditions must be met for Plaintiff to perform. Plaintiff cannot withhold its consent
 17   (which the Judgment requires it to provide) by manufacturing an obligation that the
 18   parties did not agree to and that the Court did not order. By refusing to provide its
 19   consent, Plaintiff is in violation of the Judgment, and the Court’s intervention is
 20   necessary to bring Plaintiff into compliance.
 21                                       BACKGROUND
 22          On October 2, 2020, Plaintiff filed the complaint in this action, alleging
 23   trademark infringement and related causes of action against TCI relating to TCI’s use
 24   of the mark THRIVE CAUSEMETICS. See generally ECF No. 1. On or around
 25   November 12, 2021, the parties reached an agreement in principle to settle the dispute.
 26   ECF No. 192. Shortly thereafter, on November 15, 2021, the parties appeared for a
 27   status conference with the Court, during which the parties submitted to the Court a
 28   confidential term sheet embodying the essential terms of their settlement (“Essential
                                               -1-
       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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  1   Terms”) and stated their understanding, adoption, and approval of the Essential
  2   Terms. ECF No. 196. Also during that status conference and on the parties’ request,
  3   the Court set December 6, 2021, as the deadline for the parties to complete a long-
  4   form settlement agreement and the deadline through which the Court would retain
  5   jurisdiction to enforce the Essential Terms, after which the Court stated it would
  6   dismiss the action with prejudice. See id.
  7         During the weeks that followed, the parties negotiated a long-form settlement
  8   agreement and made substantial progress, but were unable to reach a final agreement.
  9   On December 13, 2021, Plaintiff filed a Motion to Enforce Essential Terms of
 10   Settlement requesting that the Court reopen the case to enforce the Essential Terms
 11   and not dismiss the case with prejudice because the parties were still negotiating the
 12   long-form agreement. ECF No. 200. On January 19, 2022, the Court issued an Order
 13   on Plaintiff’s motion, finding that there was no reason for the case to remain open, and
 14   that the Court would instead issue a judgment (“Judgment”) and close the case, which
 15   the Court did that same day. ECF Nos. 203, 204. Relevant here, the Judgment
 16   provides that:
 17         Defendant shall amend the description of goods and services identified in
            U.S. Trademark App. No. 87-895,130 to exclude skincare products from all
 18
            of the application’s class 3 and class 35 goods, and, subject to such
 19         amendment, Plaintiff will consent to registration of Defendant’s THRIVE
            CAUSEMETICS mark in the United States and internationally, solely for
 20
            the goods and services in such trademark application as modified[.]
 21
 22   ECF No. 204 ¶ 5.1
 23         As required by the Judgment, on January 29, 2022, TCI promptly amended U.S.
 24   Trademark Application Serial No. 87-895,130 (the “Application”) to exclude skincare
 25   products from the Application as follows:
 26
 27   1
        Although the Judgment as a whole is confidential, the parties always contemplated
      and understood that Plaintiff’s consent to TCI’s registration would not be confidential
 28   since that consent must be publicly filed with the USPTO.
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       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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  1         International Class 003: Cosmetics, excluding skincare products; makeup
  2         preparations; lip gloss; lipstick; eye shadow; mascara; eye liner; lip liner;
            eye brow makeup; eye brightening liner; false eyelashes; adhesives for
  3         affixing false eyelashes; all of the foregoing, excluding skincare products
  4
            International Class 035: Online retail store services featuring cosmetics,
  5         make-up, cosmetic bags, make-up brush holders and make-up brushes, all of
            the foregoing, excluding skincare products
  6
  7   Declaration of Rollin A. Ransom (“Ransom Decl.”), Ex. A (emphasis added).
  8   Notwithstanding this amendment, on March 2, 2022, the Application’s examining
  9   attorney from the United States Patent & Trademark Office (“USPTO”) issued a Final
 10   Office Action refusing TCI’s registration on the grounds of likelihood of confusion
 11   with Plaintiff’s trademarks (which rejection TCI anticipates will be overcome by
 12   filing Plaintiff’s consent to the registration, as is contemplated and required by the
 13   Judgment). Id., Ex. B; see also In re Four Seasons Hotels Ltd., 987 F.2d 1565, 1567
 14   (Fed. Cir. 1993) (consent agreements carry “great weight” and the USPTO should
 15   generally not substitute its judgment for those of the parties). The Final Office Action
 16   further requires TCI to respond within six months (i.e., by September 2, 2022) or the
 17   Application will be abandoned. See Ransom Decl., Ex. B.
 18         The parties continued to negotiate a long-form settlement agreement during the
 19   first quarter of 2022, including exchanging multiple drafts and participating in several
 20   telephone conversations. Id. ¶ 4. While negotiations of the long-form agreement
 21   were ongoing, on or about March 22, 2022, TCI’s counsel informed Plaintiff’s
 22   counsel that TCI amended the Application as required by the Judgment, and requested
 23   that Plaintiff execute a simple trademark consent document reflecting its consent to
 24   registration of TCI’s mark in the amended Application, as also required by the
 25   Judgment. Id. ¶ 5. Plaintiff’s counsel suggested that the parties instead continue to
 26   work on the long-form agreement. Id. Over the next several weeks, TCI’s counsel
 27   contacted Plaintiff’s counsel at least five separate times to request execution of the
 28
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       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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  1   trademark consent document for filing with the USPTO. Id. ¶ 6. At various times,
  2   Plaintiff’s counsel advised TCI’s counsel that he was “discussing with [Plaintiff],”
  3   that another matter was occupying Plaintiff’s attention and “[w]e will get to this
  4   shortly,” that he would “discuss with [Plaintiff]and get back to you,” and that “I am
  5   discussing with [Plaintiff].” Id.
  6         In late April 2022, Plaintiff’s counsel advised TCI’s counsel that Plaintiff
  7   would not sign the trademark consent document, ostensibly because it did not offer
  8   Plaintiff adequate protections without an accompanying long-form settlement
  9   agreement, id., notwithstanding the other provisions of the Essential Terms and the
 10   Judgment. Plaintiff’s counsel further asserted that because TCI has until September 2,
 11   2022, to file the consent with the USPTO, “there is no urgency here or impending
 12   deadline.” Id.
 13         On June 14, 2022, counsel for the parties conferred by telephone regarding
 14   TCI’s anticipated motion to enforce the Judgment. Id. ¶ 8. During that call,
 15   Plaintiff’s counsel reiterated Plaintiff’s position that it would not sign the trademark
 16   consent document, and the parties were otherwise unable to reach a resolution of this
 17   issue. Id. In light of Plaintiff’s refusal to consent to TCI’s registration and TCI’s
 18   upcoming September 2, 2022, deadline to respond to the Final Office Action or risk
 19   abandonment of the Application, TCI brings this Motion to hold Plaintiff in contempt
 20   and to compel Plaintiff’s compliance with the Judgment.
 21                                        ARGUMENT
 22   I.    LEGAL STANDARD
 23         A court may hold a party in contempt for failure to comply with a judgment
 24   requiring the party to perform a specific act. Fed. R. Civ. P. 70(e). “The standard for
 25   finding a party in civil contempt is well settled: The moving party has the burden of
 26   showing by clear and convincing evidence that the contemnors violated a specific and
 27   definite order of the court. The burden then shifts to the contemnors to demonstrate
 28   why they were unable to comply.” FTC v. Affordable Media, 179 F.3d 1228, 1239
                                          -4-
       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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  1   (9th Cir. 1999) (finding that district court did not abuse its discretion in holding party
  2   in contempt for violating a temporary restraining order) (quoting Stone v. City and
  3   Cnty. of San Francisco, 968 F.2d 850, 856 n.9 (9th Cir. 1992)); see also In re Crystal
  4   Palace Gambling Hall, Inc., 817 F.2d 1361, 1365 (9th Cir. 1987) (affirming district
  5   court’s conclusion that party was in contempt for failure to timely execute documents
  6   in accordance with the court’s order). The moving party is not required to
  7   demonstrate that the alleged contemnor intended to violate, or willfully violated, court
  8   order, N.L.R.B. v. Ironworkers Local 433, 169 F.3d 1217, 1222 (9th Cir. 1999).
  9   Moreover, although substantial compliance with a court order is a defense, to avoid a
 10   finding of contempt, the alleged contemnor must demonstrate that it “has taken ‘all
 11   reasonable steps’ to comply with the court order.” Gen. Signal Corp. v. Donallco,
 12   Inc., 787 F.2d 1376, 1379 (9th Cir. 1986) (finding that district court did not abuse its
 13   discretion in finding party that violated consent judgment in contempt and that party
 14   did not take all reasonable steps to prevent the violations) (citations omitted).
 15   II.    PLAINTIFF’S REFUSAL TO CONSENT TO TCI’S REGISTRATION VIOLATES THE
 16          JUDGMENT, AND THE COURT SHOULD HOLD PLAINTIFF IN CONTEMPT.
 17          The standard for holding Plaintiff in contempt is plainly met here: the
 18   Judgment is “specific and definite” that Plaintiff must consent to TCI’s registration
 19   following amendment of the Application, and clear and convincing evidence
 20   establishes that Plaintiff refuses to provide its consent in violation of the Judgment.
 21   Plaintiff also has the ability to provide its consent, and has no good faith or reasonable
 22   justification for its refusal to do so.
 23          First, the Judgment is “specific and definite” because it requires TCI to amend
 24   the Application to exclude skincare products and that “subject to such amendment,
 25   Plaintiff will consent to registration of Defendant’s THRIVE CAUSEMETICS mark
 26   in the United States and internationally.” ECF No. 204 ¶ 5 (emphasis added). The
 27   requirement that Plaintiff provide its consent to TCI’s registration is unambiguous and
 28   not contingent on any condition other than TCI amending the Application. See id.
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       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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  1   Thus, following TCI’s successful amendment of the Application—which took place
  2   on January 29, 2022, Ransom Decl., Ex. A—Plaintiff is required to provide its
  3   consent. There is no other reasonable interpretation of the Judgment.
  4         Second, there is clear and convincing evidence that Plaintiff has violated the
  5   Judgment because Plaintiff has unequivocally stated that it will not consent to TCI’s
  6   registration without the parties also finalizing a long-form settlement agreement—a
  7   condition that appears nowhere in the Judgment. Ransom Decl. ¶¶ 6, 8; see generally
  8   ECF No. 204. After TCI successfully amended the Application to expressly exclude
  9   skincare products, TCI’s counsel requested several times that Plaintiff execute a
 10   simple trademark consent document to consent to TCI’s registration, as required by
 11   the Judgment. Id. ¶¶ 5-6. Each time, Plaintiff’s counsel avoided the issue by stating
 12   that the parties should continue to work on the long-form agreement, that Plaintiff was
 13   unavailable, or that he was discussing the issue with Plaintiff. Id. ¶¶ 5-6. In late
 14   April, Plaintiff’s counsel eventually disclosed that Plaintiff would not execute the
 15   trademark consent document without an accompanying long-form agreement, and
 16   reiterated the same during the parties’ June 14, 2022, telephonic conferral.2 Id. ¶¶ 6,
 17   8. Plaintiff’s statements refusing to sign a trademark consent agreement
 18   notwithstanding that TCI amended the Application to exclude skincare products is
 19   clear and convincing evidence of Plaintiff’s violation of the Judgment. See id. ¶¶ 6, 8;
 20   ECF No. 204 ¶ 5.
 21         Third, Plaintiff is fully able to comply with the Judgment and has no
 22   justification for refusing to do so. To comply with its obligation, Plaintiff need only
 23   execute a simple document attesting to its consent to TCI’s registration (which
 24   document is necessary for evidencing such consent to the USPTO), and Plaintiff has
 25   stated it will not do so. Ransom Decl. ¶¶ 6, 8. Plaintiff’s sole “justification” for its
 26   refusal to sign—i.e., that the short-form trademark consent agreement does not
 27
      2
       In May 2022, the parties reached an impasse on the long-form agreement, and they
 28   are no longer actively negotiating it. Ransom Decl. ¶ 7.
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       DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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  1   provide it adequate protection—is meritless, as that agreement does not exist in a
  2   vacuum. Instead, the Essential Terms and the Judgment afford Plaintiff the exact
  3   protections that the parties agreed to, and neither the Essential Terms nor the
  4   Judgment require the parties to finalize a long-form agreement as a condition
  5   precedent to effectuate any of their terms, including the Judgment’s express
  6   requirement that Plaintiff consent to TCI’s registration. See generally ECF No. 204.
  7   Plaintiff cannot hold its consent hostage and inject a condition into the Judgment that
  8   the parties never agreed to, and that the Court did not order, to avoid its obligations or
  9   excuse its noncompliance.
 10                                       CONCLUSION
 11         For the foregoing reasons, TCI respectfully requests that the Court grant the
 12   Motion, hold Plaintiff in contempt, and compel Plaintiff to sign the document
 13   affirming its consent to TCI’s registration of the THRIVE CAUSEMETICS mark, in
 14   the form attached as Exhibit C to the Ransom Declaration, within one (1) business day
 15   of the Court’s ruling on this Motion. In the alternative, TCI respectfully requests that
 16   the Court issue an order to show cause directing Plaintiff to show cause as to why it
 17   should not be held in contempt for violating the Judgment.
 18    DATED: July 11, 2022                           SIDLEY AUSTIN LLP
 19
                                                      By: /s/ Rollin A. Ransom
 20                                                        Rollin A. Ransom
 21                                                   Attorneys for Defendant
                                                      Thrive Causemetics, Inc.
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